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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                      :
CIRA CALABRESE, et al.,                               :
                                                      :
                                    Plaintiffs,       : ORDER ADOPTING CORRECTED
                                                      : REPORT AND RECOMMENDATION
                      -against-                       :
                                                      :      02-CV-5171 (DLI)(JO)
CSC HOLDINGS, INC., et al.,                           :
                                                      :
                                    Defendants. :
                                                      :
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DORA L. IRIZARRY, United States District Judge:

       No objections to the Corrected Report and Recommendation of the Honorable James
Orenstein, U.S.M.J., dated February 2, 2009, have been filed.

        Upon due consideration, the Corrected Report and the Recommendations contained
therein is hereby adopted in its entirety. Accordingly, it is hereby

      ORDERED that plaintiffs’ motion for class certification is denied with prejudice.


SO ORDERED.

Dated: Brooklyn, New York
       February 19, 2009
                                                                     /s/
                                                           DORA L. IRIZARRY
                                                         United States District Judge
